                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )         MATTICE/STEGER
                                               )
        v.                                     )         CASE NO. 1:15-CR-35
                                               )
 MARK ANTHONY JOHNSON                          )




                                             ORDER

        On November 3, 2015, Magistrate Judge Christopher H. Steger filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to distribute and possess with intent

 to distribute five grams or more of methamphetamine actual or fifty grams or more of a mixture

 and substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 USC '' 846 and 841(b)(1)(B), in exchange for the undertakings made

 by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment; (c) that a decision

 on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall

 remain in custody pending sentencing in this matter (Doc. 249). Neither party filed an objection

 within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

 judge=s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge=s report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as

 follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is



Case 1:15-cr-00035-TRM-CHS           Document 274         Filed 11/23/15     Page 1 of 2      PageID
                                           #: 1383
 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 Apri1 4, 2016, at 9:00 am.

        SO ORDERED.

        ENTER:


                                                         /s/ Harry S. Mattice, Jr._______
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                               2


Case 1:15-cr-00035-TRM-CHS          Document 274      Filed 11/23/15     Page 2 of 2    PageID
                                          #: 1384
